          Case 2:19-cv-00335-SAB                   ECF No. 119             filed 09/22/20      PageID.2289 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                      FILED IN THE
                                                                                                                       U.S. DISTRICT COURT
                                                                  for the_                                       EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
   OOH! MEDIA LLC, a Washington limited liability                                                                 Sep 22, 2020
 company, and KEVIN “TED” CARROLL, an individual,                                                                     SEAN F. MCAVOY, CLERK
                                                                       )
                             Plaintiff                                 )
                                v.                                     )        Civil Action No. 2:19-CV-00335-SAB
  SPOKANE TRANSIT AUTHORITY, a Washington                              )
 municipal entity, and SUSAN MEYER, individually and                   )
 as chief executive officer of Spokane Transit Authority,

                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                            recover from the
defendant (name)                                                                                                     the amount of
                                                                            dollars ($                  ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of                % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .
              Plaintiffs’ Motion for Partial Summary Judgment – Affirmative Defenses, Nos. 6,7, and 8 (No First Amendment Issue), and Nos. 13, 15,
✔ other: and 17 (Qualified Immunity) is DENIED. Plaintiffs’ Motion for Partial Summary Judgment – Defendant Spokane Transit Authority’s
’
             Counterclaim – Doctrine of Account Stated is DENIED. Plaintiffs’ Motion for Partial Summary Judgment – Affirmative Defenses No. 6
             and 7 to Defendant Spokane Transit Authority’s Counterclaim is DENIED. Defendants’ Motion for Summary Judgment – First
             Amendment Retaliation is GRANTED. Defendants’ Motion for Summary Judgment – Qualified Immunity, ECF No. 49, is GRANTED.
             Judgment is entered in favor of Defendants and against Plaintiffs on the First Amendment claims. The remaining state law claims are
             dismissed without prejudice.
This   action was (check one):
’ tried by a jury with Judge                                                                              presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                             without a jury and the above decision
was reached.

✔
’ decided by Judge                                  Stanley A. Bastian                             on motions for summary judgment.




Date: September 22, 2020                                                       CLERK OF COURT

                                                                               SEAN F. McAVOY

                                                                               s/ Courtney Piazza
                                                                                             (By) Deputy Clerk

                                                                               Courtney Piazza
